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From: Chris Hunt <Chris.Hunt@HuntCompanies.com>
Subject: Re: CONFIDENTIAL
Date: November 6, 2016 at 5:32:58 PM EST
To: Bill Jennings <whjii@icloud.com>

Bill,

please see the attached back of the envelope model

Let me know what you think of the assumptions. The starting capital includes the 10M salary pool.

The splits are 50% comp and 15% to other costs
.
The revenue to capital ratio starts at 50% and moves to about 150% which is a manual assumption in the
model.

I have assumed a sale in 10 years at 5x net revenue

Since this is crude model it doesn’t capture the crossover point for management equity exactly but its not
way off either


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On Nov 1, 2016, at 7:30 PM, Bill Jennings <whjii@icloud.com> wrote:

***EXTERNAL EMAIL***


Review of Leadership:
Person has built a billion dollar business from
a scratch. Branded/Changed a firm from a regional dealer
to a full-service investment bank. Ran FICC globally.
In first year at FICC, doubled revenues and while turning
over 50% of global staff.

Hunt Securities Proposal
Who are we - Hunt Securities is a full-service investment
bank offering a uniquely integrated platform to institutional
investors. We provide institutional sales,
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trading and research in credit, mortgage backed securities
and emerging marketsProducts traded including high yield,
bank debt and special situations claims, agency mortgages,
cmbs, CLO’s, project loans, tax liens, military housing and
emerging markets.

Our Investment Banking platform provides expertise in
capital markets insight, restructuring and new issue
mandates.

Revenue Projections:
Note: At my last firm, I built from scratch, the one of if not
the highest revenue per employee in the history of Wall
St. Each producer has a track record of 10-50mm in
revenue. If we assume 50% hc, we still get 100mm in
revenues.

Year 1: 30-40mm on 50mm in Capital. Revenues will start
Feb 1st. NO RAMP UP.
Year 2: 30-60mm on 70-100mm in Capital

Synergies for Hunt Companies:
1. Leverage Hunt Mortgage Group. Opportunities to
originate, distribute, and sell FN DUS, Freddie K’s and
Ginnie Project Loans. Sourcing of commercial loans and
warehousing to create alternative financing

2. Leverage Cazenovia Creek. Source tax liens in loan form
as well as securtize and sell A/B structures.
3. Leverage Military Housing. Securitize and sell Military
Housing.
4. Leverage Real Estate Banking. Will hire real
estate investment banker to leverage internal real estate
expertise as well as source new product and M&A.

5. Leverage Hunt Investment Mngt. Opportunities to bring
in third party capital in real estate space.
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6. New In House Risk Management to help manage current
Risk at Hunt Companies.
7. Known commodity and ability for Defife to be easily
incorporated into BD

2 Year Commitment from Hunt Companies
Location and Team            - Most hires done before March
1st - NO RAMP

Headquarters - RYE
RYE - 8 Sales people, 4 Traders, 2 Research,
LA -    3 Sales people
London - 3 Sales People and 1 Trader
(6 people called so far and 6 people in and they don’t know
they name of the firm - where I go they will go)

Salary Pool: 10mm
Notes: Firm will need 10 hires to support business. Includes
middle/back office, front office incl tech, compliance and
legal. Leadership has hired all support positions in past.

Capital:  50mm (Capital grows at .5x revenues once 15%
ROE generated on Capital for Hunt)

Equity Split:    70% Hunt / 30% Employees (30% vests
once 10mm in revenue achieved or 20% ROE generated
on Capital for Hunt)

Group Payout:         65% of Revenues

Clients:    hedge funds, mutual funds, insurance companies,
money managers, pension funds, CLO Managers, trade claim
creditors, and issuers.


HUNT ALTERNATIVES FOR CAPITAL -
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KGS ALPHA - Revenues have peaked with minimal growth
since 2013, while headcount is up 30% and revenue per
employee is down. Leadership only has experience running
Mortgage Sales and Trading business. One trick pony in
that main product offering of Mortgage
Backed Securities. Recently laid off 30 Credit Sales and
Traders due to losses in business. Hunt's investment will
likely go towards rewarding Sr Mngt and used to go into
other products in which Sr Mngt has no experience. Very
similar to what happened at Sandler O’Neil.

Goldman Sachs - buying at book value, but no way to
leverage Hunt’s companies or participate in leverage of
building and owning a firm.
	
                                                                                                                                                                                                Growth                                1.1
                                                                                                                    2017                  2018                   2019                 2020                  2021                  2022                  2023                  2024                  2025                  2026                  2027
                                                                                      Revenue           																30                     50                    75                 100                   110                   121                133.1               146.41              161.051            177.1561            194.87171
                                                                  Split           50% Comp                               15                    25                 37.5                     50                    55                60.5                66.55               73.205              80.5255            88.57805            97.435855
                                                                                  15% other	cost                        4.5                   7.5              11.25                       15                16.5                18.15               19.965              21.9615            24.15765            26.573415           29.2307565
                                                                                      Net               																11    																18    																26    																35    																39    																42    																47    																51    																56    																62    																68
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                                                                                      Capital                            60                85.0                100.0                 105.0                 105.0                 110.0                 115.0                 120.0                 125.0                 130.0                 135.0
                                                                                      ROE                       17.50%                20.59%                26.25%                33.33%                36.67%                38.50%                40.51%                42.70%                45.09%                47.70%                50.52%
                                                                                      Additions                                                25                    15                     5                     0                     5                     5                     5                     5                     5                     5
                                                                                      Net	Change                              										14.50       											(2.50)     									(21.25)      									(35.00)      									(33.50)      									(37.35)      									(41.59)      									(46.24)      									(51.37)      							(398.03)
                                                                                      Cummaltive                         60   										74.50       										72.00       										50.75       										15.75       									(17.75)      									(55.10)      									(96.69)      							(142.93)       							(194.30)       							(592.33)
                                                                                             33.792538%                 -60   									(14.50)      													2.50     										21.25       										35.00       										33.50       										37.35       										41.59       										46.24       										51.37       								398.03
                                                                                                                                                                                                              -7%                     6%            13.52%                     19%              22.26%                     25%                   34%
                                                                  Hurdle          14%                  70%             -60              -14.5                    2.5               21.25                         35                33.5                37.35             29.1095            32.37045            35.957495           278.621089
                                                                                                       30%               0                  0                      0                   0                          0                     0                     0          12.4755            13.87305            15.410355           119.409038
                                                                           irr	to	hunt           30.3507%              -60              -14.5                    2.5               21.25                       35                33.5                37.35             29.1095             32.37045            35.957495 278.621089
                                                                           Cummlative	        431.1585343
                                                                                         Revenue/Captial              50%                 59%                   75%                   95%                 105%                  110%                  116%                  122%                  129%                  136%                  144%
                                                                                         Sale	multiple                 5 implied	multiple	to	book                         2.52611476
                                                                                         Total	MGT	comp       649.294405
                                                                                         Total	MGT	resid        $161.17
                                                                                         Total	                 $810.46
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